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                    UNITED STATES DISTRICT COURT

                    SOUTHERN DISTRICT OF GEORGIA

                         SAVANNAH DIVISION
VALERIE STOREY, Individually
and as Executrix of the
ESTATE OF KENNETH CARTEE,

      Plaintiffs,

v.

EFFINGHAM COUNTY,
JIMMY MCDUFFIE, Individually,
JIMMY MCDUFFIE, in his                        Case No. CV415-149
official capacity as Effingham
County Sheriff,
TRANSFORMHEALTHRX, INC.,
EFFINGHAM COUNTY BOARD
OF COMMISSIONERS,
ASHBY LEE ZYDONYK, Deputy,
BRYAN SHEARHOUSE, Corporal,
et al.

      Defendants.

                           AMENDED ORDER

      The Court GRANTS the parties’ Joint Motion to Stay these

proceedings in light of plaintiff/executrix Valerie Storey’s death. Doc.

128. But it also DIRECTS the Clerk to ADMINISTRATIVELY

CLOSE this case without prejudice to the right of any party with

standing to reopen it. See, e.g. , In re Heritage Southwest Medical Group

PA , 464 F. App’x 285, 287 (5th Cir. 2012) (“administrative closure does
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not have any effect on the rights of the parties and is simply a docket-

management device.”). This will spare the parties the stress and expense

of juggling deadlines pending completion of the Probate Court

proceedings ( see doc. 128 at 3-4) required to replace the executrix. Upon

reopening, the parties shall confer and present a new Scheduling Order

within 14 days. 1 Gateway Behavioral Health Services’ motion to quash a

defense subpoena (doc. 125) is thus administratively DENIED without

prejudice to renew it when this case is re-opened.

       SO ORDERED , this 4th day of August, 2016.




                                      UNI]iED STATES MAGISTRA[E JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




1
  Should this litigation settle, any party with standing may move to reactivate this
case if settlement-enforcement is sought. See Kokkonen v. Guardian Life Ins. Co. of
Am ., 511 U.S. 375, 381-82 (1994); Am. Disability Ass'n v. Chmielarz , 289 F.3d 1315,
1320 (11th Cir. 2002). Alternatively, the parties may elect to take no further action --
they will have settled, after all -- in which case this action will simply remain closed.
Atlantic Cas. Ins. Co. v. Suchil , 2015 WL 1951798 at * 1 (S.D. Ga. Apr. 28, 2015).
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